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                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:16-cr-00037
                                    )
v.                                  )                 Honorable Janet T. Neff
                                    )
ROSEMARY BOYD,                      )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

        Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned case on

October 5, 2016, after receiving the written consent of defendant and all counsel. At the hearing,

defendant Rosemary Boyd entered a plea of guilty to the Indictment in exchange for the undertak-

ings made by the government in the written plea agreement. In the Indictment, defendant is charged

with conspiracy to defraud the United States through the filing of false claims in violation of 18

U.S.C. § 286. On the basis of the record made at the hearing, I find that defendant is fully capable

and competent to enter an informed plea; that the plea is made knowingly and with full

understanding of each of the rights waived by defendant; that it is made voluntarily and free from

any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

understands the nature of the charge and penalties provided by law; and that the plea has a sufficient

basis in fact.
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       Accordingly, I recommend that defendant's plea of guilty to the Indictment be accepted, that

the court adjudicate defendant guilty, and that the written plea agreement be considered for

acceptance at the time of sentencing. Acceptance of the plea, adjudication of guilt, acceptance of

the plea agreement, and imposition of sentence are specifically reserved for the district judge.



Date: October 5, 2016                                 /s/ Phillip J. Green
                                                     PHILLIP J. GREEN
                                                     United States Magistrate Judge




                                    NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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